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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

NISSA AVILA,

Plaintiff,
VS. Case No. 8:10-cv-2282-T-27EAJ
ALLIANCE ONE RECEIVABLES
MANAGEMENT,

Defendant.

/
ORDER OF DISMISSAL

BEFORE THE COURT is the parties’ stipulation for dismissal with prejudice (Dkt. 12).
Upon consideration, it is

ORDERED AND ADJUDGED that this cause is DISMISSED with prejudice. The Clerk
is directed to terminate any pending motions/deadlines and CLOSE this case.

Te
DONE AND ORDERED in chambers this Zp 7 day of September, 2011.

  

ES D. WHITTEMORE
Uhited States District Judge

Copies to:
Counsel of Record
